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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA


 KEYBANK NATIONAL ASSOCIATION                                                 CIVIL ACTION

 VERSUS                                                                       NO. 24-850

 LAKEWOOD POINTE APTS LLC, et al.                                             SECTION M (5)




                                                  JUDGMENT

         Considering the motion of plaintiff KeyBank National Association (“KeyBank”) for

default judgment against defendants, Lakewood Pointe Apts LLC (“Lakewood”), Fredrick

Schulman (“Schulman”), and Moshe Silber (“Silber”) (collectively, “Defendants”),1 the evidence

attached to the motion,2 KeyBank’s response to the Court’s areas of concern,3 the evidence

attached to that response,4 the record, and the applicable law, the Court finds that Defendants, who

are not incompetent persons or members of the military serving abroad, have failed to timely

answer KeyBank’s complaint and that KeyBank is entitled to judgment in its favor. Accordingly,

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that a default judgment be

entered against Defendants as set forth herein.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that judgment be rendered

in favor KeyBank and against Lakewood in the amount of $24,711,436.37, consisting of principal

of $22,170,700.00, plus pre-default accrued interest through February 8, 2024, of $348,431.35,




         1
           R. Doc. 69.
         2
           R. Docs. 69-2; 69-3; 69-4; 69-5; 69-6; 69-7; 69-8; 69-9; 69-10; 69-11; 69-12; 69-13; 69-14.
         3
           R. Doc. 74 (citing R. Doc. 73). Because this filing satisfies that Court’s areas of concern that were to be
the subject of the hearing on KeyBank’s motion for default judgment, the hearing scheduled for February 6, 2025, is
CANCELLED.
         4
           R. Docs. 74-1; 74-2; 74-3.
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plus default interest at the Default Rate (as defined in the loan documents) per annum from

February 9, 2024, to December 31, 2024, of $2,192,305.02; in addition, Lakewood is liable for

interest continuing to accrue from January 1, 2025, until the judgment is paid in full at the interest

rate per annum set forth in 28 U.S.C. §1961(a) for post-judgment interest.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that judgment be rendered

in favor of KeyBank and against Lakewood for enforcement costs totaling $1,262,096.76,

consisting of $229,461.50 in attorney’s fees, $7,074.88 in costs, and $1,025,560.38 in insurance

premiums paid by KeyBank to insure the mortgaged property.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that judgment be rendered

in favor of KeyBank and against Schulman and Silber, as guarantors, in solido with Lakewood, in

the amount of $9,328,008.13, consisting of 25% of the principal balance of the loan totaling

$5,542,675.00, plus pre-default accrued interest through February 8, 2024, of $348,431.35, plus

default interest at the Default Rate (as defined in the loan documents) per annum from February 9,

2024, to December 31, 2024, of $2,192,305.02, plus enforcement costs totaling $1,262,096.76; in

addition, Schulman and Silber are liable, in solido with Lakewood, for interest continuing to accrue

from January 1, 2025, until the judgment is paid in full at the interest rate per annum set forth in

28 U.S.C. §1961(a) for post-judgment interest.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that KeyBank has a first

priority, priming security interest in the movable property described in Exhibit B to the UCC-1

Financing Statement attached to the motion for default judgment as Exhibits 9 and 9-1, in the

record at R. Doc. 69-10 and 69-11, respectively.




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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the mortgage attached

to the motion for default judgment as Exhibit 7, in the record at R. Doc. 69-8 (the “Mortgage”), is

valid and enforceable in favor of KeyBank in accordance with its terms and conditions.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that KeyBank has a first

priority, priming mortgage on the mortgaged property described in the Mortgage with address

7001 Martin Drive, New Orleans, Louisiana 70126 and described below:




       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all rents as they

become due and payable, including rents then due and unpaid, from the mortgaged property

described in the Mortgage shall, at the direction of KeyBank, be paid directly to KeyBank by each

tenant of the mortgaged property.

                                                3
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  New Orleans, Louisiana, this 30th day of January, 2025.




                                             ________________________________
                                             BARRY W. ASHE
                                             UNITED STATES DISTRICT JUDGE




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